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   IT IS ORDERED as set forth below:



   Date: December 7, 2018
                                                       _____________________________________
                                                                     Paul Baisier
                                                             U.S. Bankruptcy Court Judge

  _______________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                           :           CHAPTER 7
                                  :
 DN REAL ESTATE SERVICES &        :
 ACQUISITIONS, LLC                :
                                  :           CASE NO. 17-55587-PMB
    Debtor                        :
 ________________________________________________________________________


      ORDER GRANTNG FEE APPLICATION FOR DEBTOR’S ACCOUNTANT


           Debtor’s counsel filed its Application for Chapter 11 Fees due to Debtor’s
    Accountant (the “Fee Application”) on June 26, 2018 (Doc. No. 131). All parties were
    served, and the United States Trustee filed an objection on July 25, 2018 (the
    “Objection”) (Doc. No. 141).
           At the call of the calendar on November 27, 2018 the United States Trustee,
    represented by Lindsay P. S. Kolba, Esq. and the Chapter 7 Trustee Gregory Hays,
    represented by Michael J. Bargar, Esq. announced their opposition to the $650 as it was
    beyond the date and scope of the Fee Application and to the $2,250 because the
    preparation of the 2017 tax return was not expressly included within the Order to employ
    Accountant.   The Court is persuaded that the preparation of tax returns is within the
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   expected scope of services for an appointed accountant in a Chapter 11 case, but suggests
   that Debtor counsel include this scope expressly in future applications. The $650
   payment is denied based upon U.S. Trustee’s objection. There being no other opposition,
   it is therefore:


           ORDERED that Debtor’s Accountant Smith & Shin, LLC is entitled to fees in the
   amount of $2,250.00 as stated in the Fee Application and Response, as a Chapter 11
   administrative expense claim.

                                        END OF DOCUMENT


   Prepared by:

   ____/s/________
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   No Opposition by:                                  Reviewed by:

   ___/s/____________________                         ___s/__________________
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